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 1                                      PROOF OF SERVICE
 2
          I work in the City of Boca Raton and County of Palm Beach, State of Florida. I
 3   am over the age of eighteen and not a party to the within action. My business address
 4   is 5550 Glades Road, Suite 500, Boca Raton, Florida 33431.

 5        On December 13, 2018, I electronically filed with the Court and served through
 6   its CM/ECF program, which will electronically mail notice to all attorneys of record,
     through the same program, the following document(s):
 7

 8   NOTICE OF DISMISSAL

 9            CM/ECF - by transmitting electronically the document(s) listed above to
10             the electronic case filing system on this date before 11:59 p.m. The Court’s
               CM/ECF system sends an e-mail notification of the filing to the parties and
11             counsel of record who are registered with the Court’s CM/ECF system.
12
          I declare under penalty of perjury under the laws of the United States of
13   America that the above is true and correct.
14
             Executed on December 13, 2018 in Boca Raton, Florida.
15

16
                   Jesse S. Johnson                 s/ Jesse S. Johnson
17               (Type or print name)               Jesse S. Johnson
18                                                  jjohnson@gdrlawfirm.com
19
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     Proof of Service
